     Case 2:17-cv-08587-GW-AS Document 13 Filed 12/15/17 Page 1 of 11 Page ID #:49




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 4 E: gloarie@earthjustice.org
 5     mlogan@earthjustice.org

 6 Additional Counsel of Record
   Listed in Signature Block
 7
 8                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                              WESTERN DIVISION
10
11 CENTER FOR BIOLOGICAL DIVERSITY ) Civ. No. 2:17-cv-08587-GW-AS
   and CENTER FOR FOOD SAFETY,                  )
12                                              )
                 Plaintiffs,                    ) PROOF OF SERVICE
13        vs.
                                                )
14                                              )
   U.S. BUREAU OF LAND
15 MANAGEMENT; RYAN ZINKE, Secretary )
   of Interior; BRIAN STEED, Acting Director, )
16 Bureau of Land Mgmt.; JEROME PEREZ, )
   California Director, Bureau of Land Mgmt.; )
17 BETH RANSEL, District Manager,               )
   California Desert District Office, Bureau of )
18 Land Mgmt.; KATRINA SYMONS, Manger,
                                                )
19 Barstow
   Mgmt.,
             Field Office, Bureau of Land
                                                )
20                                              )
                 Defendants.                    )
21                                              )
22         I am a citizen of the United States of America and a resident of the City and
23 County of San Francisco; I am over the age of 18 years and not a party to the within
24 entitled action; my business address is 50 California Street, Suite 500, San Francisco,
25 California.
26       I hereby certify that on November 30, 2017, I served by U.S. Certified Mail in
27 accordance with F.R.Civ.P. 4(i) et seq. one true copy of the following documents:
28
              Summons in a Civil Action;

                                             1
                                      PROOF OF SERVICE
     Case 2:17-cv-08587-GW-AS Document 13 Filed 12/15/17 Page 2 of 11 Page ID #:50




 1              Complaint for Declaratory and Injunctive Relief;
 2              Notice of Interested Parties;
 3              Notice of Assignment to United States Judges; and
 4              Notice to Parties of Court-Directed ADR Program
 5 on the parties listed below:
 6     U.S. Bureau of Land Management                 Katrina Symons, Manger
 7     1849 C Street, N.W., Room 5665                 Barstow Field Office
       Washington, DC 20240                           Bureau of Land Management
 8                                                    2601 Barstow Road
       Ryan Zinke, U.S. Secretary of Interior         Barstow, CA 92311
 9     U.S. Department of the Interior
10     1849 C Street, N.W.                            Attorney General of the United States
                                                      U.S. Department of Justice
11       Brian Steed, Acting Director                 950 Pennsylvania Avenue, NW
         U.S. Bureau of Land Management               Washington, DC 20530-0001
12       1849 C Street, N.W., Room 5665
13       Washington, DC 20240                         Sandra Brown
                                                      Acting U.S. Attorney
14       Jerome Perez, California Director            312 North Spring St., Ste 1200
         U.S. Bureau of Land Management               Los Angeles, CA 90012
15       2800 Cottage Way, Suite W1623
         Sacramento, CA 95825
16
17       Beth Ransel, Manager
         California Desert District Office
18       Bureau of Land Management
         22835 Calle San Juan De Los Lagos
19       Moreno Valley, CA 92553
20
21         Additionally, on December 11, 2017, I sent the above-named documents by
22 U.S. Certified Mail to the Civil Process Clerk, Office of the United States Attorney,
23 Room 7516, Federal Building, 300 North Los Angeles Street, Los Angeles, California
24 90012. Copies of the Certified Mail receipts and delivery confirmations are attached.
25         I certify under penalty of perjury that the foregoing is true and correct.
26         Executed on December 15, 2017 in San Francisco, California.
27
                               _______________________________
28                                       John W. Wall

                                              2
                                       PROOF OF SERVICE
Case 2:17-cv-08587-GW-AS Document 13 Filed 12/15/17 Page 3 of 11 Page ID #:51
Case 2:17-cv-08587-GW-AS Document 13 Filed 12/15/17 Page 4 of 11 Page ID #:52
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Case 2:17-cv-08587-GW-AS Document 13 Filed 12/15/17 Page 7 of 11 Page ID #:55
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